                 Case 20-66885-lrc                  Doc 1        Filed 06/02/20 Entered 06/02/20 09:43:01                            Desc
                                                                  Petition Page 1 of 6
                                                                                                FILL
 Fill in this information to identify the case:
                                                                                                              • C Y (.;(11i•fi
                                                                                                   WIRT     . NSTF).1C -i
 United States Bankruptcy Cciafillr the:                                                              OF _ii:ORGIA


                             Distri                                                           -7020 JUN -2 AM 9:32
                                                             Chapter                                                               LI Check if this is an
             0      (n°                                                                                                               amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1. Debtor's name                                    Atit 9oery ‘O ocE ca)
 2. All other names debtor used
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names


 3. Debtor's federal Employer
    Identification Number (EIN)
                                           `3_
                                              .         _            6z

 4. Debtor's address                       Principal place of business                                    Mailing address, if different from principal place
                                                                                                          of business

                                                            DO/Wing/We _5‘ini
                                           Number           Street                                        Number       Street


                                                                                                          P.O. Box

                                            Xn41w4                     64 303/0
                                                                              State     ZIP Code                                                   ZIP Code
                                            City                                                          City                        State

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                             Fc/L -To i()
                                           County
                                                                                                          Number       Street




                                                                                                          City                        State        ZIP Code




 5. Debtor's website (URL)




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
               Case 20-66885-lrc             Doc 1        Filed 06/02/20 Entered 06/02/20 09:43:01                               Desc
                                                           Petition Page 2 of 6
Debtor      kfilvi P,oftg-t7- ,(ouece
             Name
                                                                                           Case number (it known)


                                         aCorporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                         U Partnership (excluding LLP)
                                         U Other. Specify:


                                         A. Check one:
 7. Describe debtor's business
                                         U Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         U Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         U Railroad (as defined in 11 U.S.C. § 101(44))
                                         LI Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         U Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         U Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         a 'None of the above


                                         B. Check all that apply:

                                         U Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         U Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         U Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.qov/four-didt-national-association-naics-codes .



 a. Under which chapter of the           Check one:
    Bankruptcy Code is the
    debtor filing?
                                         LI Chapter 7
                                         U91apter 9
                                         W. Chapter 11. Check al/ that apply:
     A debtor who is a "small business
     debtor" must check the first sub-                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     § 1182(1) who elects to proceed                          affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
     under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
     (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
     "small business debtor") must                            11 U.S.C. § 1116(1)(B).
     check the second sub-box.                           U The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                           noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                           less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                           Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                           statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                           § 1116(1)(B).

                                                         U A plan is being filed with this petition.

                                                         U Acceptances of the plan were solicited prepetition from one or more classes of
                                                           creditors, in accordance with 11 U.S.C. § 1126(b).

                                                         U The debtor is required to file periodic reports (for example, 10K and 100) with the
                                                           Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                           Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                           for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                         LI   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                         U Chapter 12




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                Case 20-66885-lrc           Doc 1            Filed 06/02/20 Entered 06/02/20 09:43:01                                       Desc
                                                              Petition Page 3 of 6
Debtor     ,t7t1INI 104a -12V ‘00f2CC Co                          Tye.                        Case number (if known)
              Name
                                                             )
 9. Were prior bankruptcy cases        ID No
    filed by or against the debtor
    within the last 8 years?                      District   ilk aril 02 A)            When    a       U7          OCase number;0'.6
                                                                                                              Yy
     If more than 2 cases, attach a
     separate list.                               District   Novitte41                                      0/q        Case number /1? a '72



 io. Are any bankruptcy cases          U 7No
     pending or being filed by a
     business partner or an            Li Yes.    Debtor                                                               Relationship
     affiliate of the debtor?                     District                                                             When
     List all cases. If more than 1,                                                                                                  MM / DD          / YYYY
     attach a separate list.                      Case number, if known



     Why is the case filed in this     Check all that apply:
     district?
                                       106;ebtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       U A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
     possession of any real            Li Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                        Why does the property need immediate attention?              (Check all that apply.)
     attention?
                                                 Li   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?

                                                 Li   It needs to be physically secured or protected from the weather.

                                                 Li   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                 Li   Other



                                                 Where is the property?
                                                                              Number          Street




                                                                              City                                                    State ZIP Code


                                                 Is the property insured?
                                                 U No
                                                 Li   Yes. Insurance agency

                                                             Contact name

                                                             Phone




IIIII Statistical and administrative information


  Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
              Case 20-66885-lrc               Doc 1         Filed 06/02/20 Entered 06/02/20 09:43:01                                   Desc
                                                             Petition Page 4 of 6
Debtor         MN/ PIOV                  6000CE                                                 Case number (i( known)
            Name                                         6(2    ' 1111)6

 13. Debtor's estimation of              Check one:
     available funds                     •    ,ilnds will be available for distribution to unsecured creditors.
                                         WAfter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                         V1-49                               Li 1,000-5,000                               D 25,001-50,000
 14.Estimated number of                  • 50-99                             U 5,001-10,000                               Li 50,001-100,000
    creditors
                                         Li 100-199                          Li 10,001-25,000                             U More than 100,000
                                         Li 200-999

                                         Li $0-$50,000                      Li $1,000,001410 million                      Li $500,000,00141 billion
 15.Estimated assets                     _9)50,0014100,000                  O $10,000,001-$50 million                     Li $1,000,000,001-$10 billion
                                            $100,001-$500,000               Li $50,000,001-$100 million                   Li $10,000,000,001-$50 billion
                                         Li $500,001-$1 million             • $100,000,001-$500 million                   Li More than $50 billion

                                         Li $0-$50,000                      Li $1,000,001410 million                      Li $500,000,00141 billion
 16.Estimated liabilities                9)50,0014100,000                   Li $10,000,001450 million                     Li $1,000,000,001410 billion
                                         a"$100,0014500,000                 Li $50,000,001-$100 million                   Li $10,000,000,001450 billion
                                         Li $500,001-$1 million              O $100,000,0014500 million                   Li More than $50 billion



al          Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
               $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                                                o
                                             Executed on
                                                           MM / DD / YYYY



                                             Signature of authorized representative of debtor              Printed name

                                             Title         ()




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 4
                Case 20-66885-lrc    Doc 1          Filed 06/02/20 Entered 06/02/20 09:43:01                                   Desc
                                                     Petition Page 5 of 6
Debtor        It&it       elOticT    c<otige5                                     Case number o(known)
              Name




 18.   Signature of attorney
                                                                                            Date
                                    Signature of attorney for debtor                                       MM      / DD / YYYY




                                    Printed name


                                    Firm name


                                    Number         Street


                                    City                                                           State            ZIP Code



                                    Contact phone                                                  Email address




                                    Bar number                                                     State




  Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 5
                    Case 20-66885-lrc               Doc 1        Filed 06/02/20 Entered 06/02/20 09:43:01                               Desc
                                                                  Petition Page 6 of 6
    Case Number: 20-66885 Name:                                Alani Property Source Inc.                                     Chapter: 11

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

0    Individual - Series 100 Forms                                                                 Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                            Petition Deficiencies:
    Complete List of Creditors (names and addresses of all creditors)                           0 Last 4 digits of SSN
 0 Pro Se Affidavit (due within 7 days, signature must be notarized,                            0 Address 0 County
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                            O Type of Debtor
 0 Signed Statement of SSN (due within 7 days)                                                  O Chapter
                                                                                                E Nature of Debts
    MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                        O Statistical Estimates
    El Statement of Financial Affairs                                                           O Venue
       Schedules: A/B D E/ F G H                                                                O Attorney Bar Number
    El Summary of Assets and Liabilities
       Declaration About Debtor(s) Schedules                                                                   Case filed via:
    O Attorney Disclosure of Compensation                                                  El Intake Counter by:
    O Petition Preparer's Notice, Declaration and Signature (Form 119)                          LI Attorney
    O Disclosure of Compensation of Petition Preparer (Form 2800)                               0 Debtor - verified ID
    O Chapter 13 Current Monthly Income                                                            Other - copy of ID: Wendell Robinson
    O Chapter 7 Current Monthly Income
                                                                                                                          L104 - W -00 cf9
    O Chapter 11 Current Monthly Income                                                    0 Mailed by:
    E Certificate of Credit Counseling (Individuals only)                                     0 Attorney
    O Pay Advices (Individuals only) (2 Months)                                               O Debtor
    O Chapter 13 Plan, complete with signatures (local form)                                  O Other:
    O Corporate Resolution (Business Ch. 7 & 11)
                                                                                           0 Email or Fax [Pursuant to General Order 34-2020,
    Ch.11 Business                                                                         this petition was received for filing via email or fax.]
    El 20 Largest Unsecured Creditors
    EJ List of Equity Security Holders                                                                History of Case Association
    El Small Business - Balance Sheet                                                      Prior cases within 2 years: 20-604371rc, 19-657031rc,
    lZ Small Business - Statement of Operations                                            19-62482Irs
    El Small Business - Cash Flow Statement
    0 Small Business - Federal Tax Returns                                                 Signature:
                                                                                           Acknowledgment of receipt of Deficiency Notice
    MISSING DOCUMENTS DUE WITHIN 30 DAYS
    O Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filinz, an Order will be forthcoming:
       0 Paid $ 0  0 2g-Order Granting          LI 3g-Order Granting 10-day finitial payment of $                 due within 10 days)
          LI   2d-Order Denying with filing fee of $_____ due within 10 days 0 IFP filed (Ch.7 Individuals Only)
                                                     Order Regarding Unpaid Case Filing Fee.

                   You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only to the address below.
                             All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                     **Failure to Comply may result in the dismissal of your case.**
                                                         UNITED STATES BANKRUPTCY COURT
                                                           75 Ted Turner Drive, SW, Room 1340
                                                                  Atlanta, Georgia 30303
                                                                      404-215-1000

 Intake Clerk:       Mezon                  Date: 6/2/20                       Case Opener:                                           Date:
